Case 4:05-cr-00173-MAC-KPJ            Document 868         Filed 03/09/11      Page 1 of 2 PageID #:
                                             631



                            United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
 vs.                                               §            Case No. 4:05cr173.2
                                                   §            (Judge Schneider)
 FELICIA LINETTE SHEPPARD-RUSHING                  §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on March 7, 2011, to determine whether Defendant violated her supervised

 release. Defendant was represented by Denise Benson. The Government was represented by

 Maureen Smith.

        On July 19, 2006, Defendant was sentenced by the Honorable Michael H. Schneider to fifty-

 six (56) months’ custody followed by four (4) years of supervised release for the offense of Conspiracy

 to Distribute or Dispense with Intent to Distribute or Dispense Cocaine Base and Marijuana. On

 December 18, 2008, Defendant completed her period of imprisonment and began service of her

 supervised term.

        On January 27, 2011, the U.S. Probation Officer executed a Petition for Warrant for Offender

 Under Supervision. The petition asserted that Defendant violated the following mandatory

 condition: the defendant shall refrain from any unlawful use of a controlled substance. The petition

 asserted that Defendant violated the following standard conditions: (1) the defendant shall refrain

 from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any

 controlled substance, or any paraphernalia related to any controlled substances, except as prescribed

 by a physician; (2) the defendant shall report to the probation officer and shall submit a truthful and
    Case 4:05-cr-00173-MAC-KPJ           Document 868        Filed 03/09/11      Page 2 of 2 PageID #:
                                                632


     complete written report within the first five days of each month; and (3) the defendant shall

     notify the probation officer ten days prior to any change in residence or employment.

             Prior to the Government putting on its case, Defendant entered a plea of true to all of the

     allegations. The Court recommends that Defendant’s supervised release be revoked.

                                          RECOMMENDATION

             The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of fifteen (15) months with no

     supervised release to follow. It is also recommended that Defendant be housed in the Fort Worth

.    unit.

             After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.
             SIGNED this 9th day of March, 2011.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES MAGISTRATE JUDGE
